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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                                  ROANOKE DIVISION

CHOICE HOTELS INTERNATIONAL, INC.,   )
                                     )
           Plaintiff,                )
                                     )
v.                                   )                     Civil Action No.: 7:17-cv-381
                                     )
A ROYAL TOUCH HOSPITALITY, LLC (NC), )                     By: Elizabeth K. Dillon
A ROYAL TOUCH HOSPITALITY, LLC (VA), )                         United States District Judge
UJAS B. PATEL and KETKI PATEL,       )
                                     )
           Defendants.               )

                                         FINAL ORDER

       For the reasons set forth in the accompanying memorandum opinion, it is hereby

ORDERED that Choice Hotels International, Inc.’s (Choice Hotels) Motion for Summary Judgment

(Dkt. No. 36) is GRANTED with respect to damages and the amount of attorneys’ fees to be

awarded. In addition to summary judgment entered in its favor and the relief awarded in this

court’s previous order (Dkt. No. 42), Choice Hotels is awarded the following:

       1.     $2,426,936.96 in lost profits;

       2.     $618,868.32 in actual damages;

       3.     $575.00 in costs; and

       4.     $47,687.57 in attorneys’ fees.

       It is hereby ORDERED that judgment be entered in favor of Choice Hotels.

       It is FURTHER ORDERED that the clerk shall provide copies of this order and the

accompanying memorandum opinion to counsel for Choice Hotels and the defendants.

       Entered: September 30, 2019.

                                                   /s/ Elizabeth K. Dillon
                                                   Elizabeth K. Dillon
                                                   United States District Judge
